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20                                  UNITED STATES DISTRICT COURT

21                             NORTHERN DISTRICT OF CALIFORNIA

22                                     SAN FRANCISCO DIVISION

23   ORACLE AMERICA, INC.                              Case No. CV 10-03561 WHA
24                     Plaintiff,                      NOTICE OF APPEARANCE BY
                                                       ROMAN A. SWOOPES
25          v.
26   GOOGLE, INC.
27                     Defendant.
28
     NOTICE OF APPEARANCE BY ROMAN A. SWOOPES
     CASE NO. CV10-03561 WHA
     pa-1457800
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 1          TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE of the appearance of attorney Roman A. Swoopes
 3   (rswoopes@mofo.com) of the law firm of Morrison & Foerster LLP, 755 Page Mill Road,
 4   Palo Alto, CA 94304, as counsel of record in this action for Plaintiff Oracle America, Inc.
 5   Dated: April 11, 2011                        By:     /s/Roman A. Swoopes __________
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